                              UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS




 MICHAEL BUSH
                             Plaintiff              CIVIL ACTION


                                                             NO. 22-10473-GAO
              V.




 THE WANG CENTER FOR THE PERFORMING ARTS d/b/a BOCH CENTER
                             Defendant




                                         NOTICE OF DEFAULT




       Upon application of the Plaintiffs,. MICHAEL BUSH           for an order of Default for

failure of the Defendant,.,THE WANG CENTER FOR THE PERFORMING ARTS                  , to plead or

otherwise defend as provided by Rule 55(a) of the Federal Rules of Civil Procedure, notice is

hereby given that the Defendant has been defaulted this 18th day of   April, 2022       .
                          ROBERT M. FARRELL
                          CLERK OF COURT




                    By:    /s/Paul Lyness
                          Deputy Clerk


Notice mailed to:
